          Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 1 of 16




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
OUR WICKED LADY LLC,                                                    CASE NO.:      1:21-cv-165
(d/b/a “Our Wicked Lady”), et al.,
                                                                        Electronically Filed

                                            Plaintiffs,                 Hon. Denise L. Cote

                          -against-

ANDREW CUOMO, in his official capacity as Governor
of the State of New York; STATE of NEW YORK;
BILL de BLASIO, in his official capacity as Mayor of
New York City; and THE CITY of NEW YORK,


                                             Defendants.
--------------------------------------------------------------------X




                      MEMORANDUM OF LAW IN OPPOSITION TO
                    CITY-DEFENDANTS’ CROSS MOTION TO DISMISS

                                  Kenneth E. Belkin, Esq. (KB-0080)
                                  225 Broadway, Suite 715
                                  New York, New York 10007
                                  c: (718) 724-3466
                                  f: (212) 566-8165
                                  e: kb@belkinlaw.com
                                  Attorney for Plaintiffs
                                  Our Wicked Lady LLC, et al.
       Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 2 of 16




                               TABLE OF CONTENTS

PRELIMINARY STATEMENT ……………………….……………………………….…….....4


FACTUAL BACKGROUND …..…………………………………..…………………....……...4


STANDARD OF REVIEW ...………………………………………………...…...…….……....5


I. The Jacobson Standard …………………………………………………...………..………....6

II. Strict Scrutiny Applies To Fundamental Rights ……………………………..………....……7

III. Due Process Claims ………………………………………………………………….…......9

IV. Takings Clause Claims ……………………………………………………....……….……11

V.   Equal Protection Claims …………………………………………………………………..12

VI. Element Of Irreparable Harm Is Satisfied ………………………………………….……..12

VII. Balance Of Equities & The Public Interest Favors Plaintiffs ……………………………..13

CONCLUSION ………………………………………………………………..…………..…...15




                                        1
        Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 3 of 16




                                 TABLE OF AUTHORITIES

Allgeyer v. Louisiana,
165 U.S. 578 (1897) ………………………………………………………………..……………..7

Bell Atlantic Corp. v. Twombly,
570, 127 S.Ct. 1955 (2007) …………………………………………………………….…………5

Board of Regents of State Colleges v. Roth,
408 U.S. 564 (1972) ……………………………………………………………………………...9

Connecticut ex rel. Blumenthal v. Crotty,
346 F.3d 84, 95, (2d Cir. 2003) …………………………………………………………...………7

Covino v. Patrissi,
967 F.2d 73, 77 (2d Cir 1992) …………………………………………………………….……..13

Evergreen Ass’n, Inc. v. City of New York,
740 F.3d 233, 246 (2d Cir 2014)

Global Network Communications Inc. v. City of New York,
458 F.3d 150 (2d Cir. 2006) ……………………………………………………………...………5

Griswold v. Connecticut,
381 U.S. 479, (1965) …………………………………………………………………….……...10

Immediato v. Rye Neck School Dist.,
73 F.3d 454, 460-61 (2d Cir. 1996) ……………………………………………………..………..7

Immediato v. Rye Neck School Dist.,
519 U.S. 813 (1996) ……………………………………………………………………...………7

Jacobson v. Massachusetts,
197 U.S. 11 (1905) ……………………………………………………………………………….6

Jolly v. Coughlin,
76 F.3d 468 (2d Cir 1996) …...…………………………………………………………………..13



                                             2
     Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 4 of 16




Johnson v. Glick,
481 F.2d 1028, 1033 (2d Cir. 1973) ……………………………………………………………10

Johnson v. Glick,
414 U.S. 1033 (1973) ……………………………………………………………………..……10

Leebaert v. Harrington,
332 F.3d 134, 140 (2d Cir. 2003) ………………………………………………………………...8

Loretto v. Teleprompter Manhattan CATV Corp.,
458 U.S. 419 (1982) ……………………………………………………………………………...8

Lucas v. South Carolina Coastal Council,
505 U.S. 1003 (1992) ……………………………………………………………………...…….11

Madera v. Bd. of Educ. of City of N.Y.,
386 F.2d 778, 784 (2d Cir. 1967) ……………………………………………..…………………..7

Meyer v. Nebraska,
262 U.S. 390, 399 (1923) …………………………………………………………………….…..9

Mitchell v. Cuomo,
748 F.2d 804, 806 (2d Cir. 1984) ………………………………………………………………..13

Pennsylvania Coal Co. v. Mahon,
260 U.S. 393 (1922) …………………………………………………………………….……….11

Reno v. Flores,
113 S.Ct. 1439 (1993) ……………………………………………………………………….……8

Rochin v. California,
342 U.S. 165 (1952) …………………………………………………………………...………..10

Roman Catholic Diocese of Brooklyn v. Cuomo,
141 S.Ct. 63 (2020) …………………………………………………………………..…………..6

United States v. Peewee Coal Co.,
341 U.S. 114 (1951) …………………………………………………………………..…………11


                                   3
            Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 5 of 16




                                            PRELIMINARY STATEMENT

          Plaintiffs submit this Memorandum of Law in Opposition to the City Defendants’ Cross

Motion to Dismiss. Plaintiffs herein are seventy-four (74) businesses located within the City of

New York. They are predominantly engaged in the hospitality industry, including the restaurant,

bar and cafe businesses. Several of the Plaintiffs are engaged in the personal fitness industry,

including martial arts and yoga studios, which have not been able to reopen since the

Defendants’ Orders, as outlined in the Complaint, went into effect. Plaintiffs have borne the

financial cost of this crisis and waited for help from the government, while their savings ran dry,

they incurred debts and they now face permanent closure. Plaintiffs are asking for the ability to

help themselves by being allowed to work in the absence of these most severe restrictions, which

prevent them from earning a livelihood.

                                              FACTUAL BACKGROUND

          According to New York State’s contact tracing data, released by the State Defendants on

December 11th, 2020, the number one source of the spread is in home gatherings, which

accounts for 74% of new cases of COVID 19. The second largest source of the spread came

from healthcare facility visits, which accounts for 7.8% of new cases of COVID. Restaurants

and bars, which make up the majority of the Plaintiffs, only account for 1.4% of new cases of

COVID 19, as per State Defendants’ own data.1 That same data also points to a transmission rate

of .06% in Gyms, which covers the fitness industry Plaintiffs.2                               Despite Plaintiffs making up




1
  “Restaurants and Bars Account for Less Than 2 Percent of New COVID-19 Cases in New York” Collarosi, Natalie, News Week, December 11,
2020 <https://www.newsweek.com/restaurants-bars-account-less-2-percent-new-covid-19-cases-new-york-1554206>
2
  “What is Driving the Spread of COVID-19 in New York?” Office of the Governor, December 11th, 2020
<https://spectrumlocalnews.com/nys/central-ny/ny-state-of-politics/2020/12/11/what-new-york-s-contact-tracing-data-show>



                                                                  4
         Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 6 of 16




such a small percentage of the rate of transmission of COVID 19 in the State of New York, they

find themselves subject to the most severe use of the State’s police powers.

                  STANDARD OF REVIEW ON A MOTION TO DISMISS
                     PURSUANT TO FED. R. CIV. P. RULE 12(B)(6)

       To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to “state a claim to relief that is plausible on its face.”See Bell Atlantic Corp. v.

Twombly at 570, 127 S.Ct. 1955 (2007). A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged. Id., at 556, 127 S.Ct. 1955 (2007). The plausibility standard is not

akin to a “probability requirement,” but it asks for more than a sheer possibility that a defendant

has acted unlawfully. Ibid. Where a complaint pleads facts that are “merely consistent with” a

defendant's liability, it “stops short of the line between possibility and plausibility of ‘entitlement

to relief.’ ” Id., at 557, 127 S.Ct. 1955 (2007).

       “The purpose of Rule 12(b)(6) is to test, in a streamlined fashion, the formal sufficiency

of the plaintiff's statement of a claim for relief without resolving a contest regarding its

substantive merits. The Rule thus assesses the legal feasibility of the complaint, but does not

weigh the evidence that might be offered to support it.” See Global Network Communications,

Inc. v. City of New York, 458 F.3d 150 (2d Cir. 2006).

       Plaintiffs have plead multiple violations of both U.S. and N.Y.S. constitutions and done

so great specificity.     Plaintiffs have certainly met the “plausibility” standard laid out on

Twombly, with the exception of the Equal Protection claims against the City Defendants, which

is conceded below.




                                                    5
           Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 7 of 16




I.        THE JACOBSON STANDARD

          Defendants point to the rationale for these restrictions as rooted in the ruling in Jacobson

v. Massachusetts, 197 U.S. 11 (1905). The rationale behind Jacobson has been questioned

recently by the Supreme Court in Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S.Ct. 63

(2020).      Jacobson pre-dated the modern tiers of scrutiny and the Supreme Court essentially

applied rational basis review. Mr. Jacobson challenged a state law, which required individuals to

take a vaccine, pay a $5 fine or establish a qualified exemption. This law was enacted in

response to an ongoing smallpox pandemic.

          First, the instant matter is factually distinguishable from Jacobson insofar as there were

opt-outs available to the public should they not want to comply. The Plaintiffs here have no

choice but to comply under threat of criminal sanctions. Here, the Defendants have effectively

and severely restricted the Plaintiffs’ industries in certain zones, namely New York City,

whenever the Defendants order it and for as long as they so choose. Jacobson does not address

or otherwise signal approval for such serious and enduring intrusions into settled constitutional

rights.

          Second, the test used in Jacobson was one of “reasonableness” id., at 27, 25 S.Ct. 358

(1905). The test applied was whether the law was reasonable under the circumstances. Justice

Gorsuch addresses the standard of review used in Jacobson in his concurrence in Roman

Catholic Diocese of Brooklyn v. Cuomo: “Rational basis review is the test this Court normally

applies to Fourteenth Amendment challenges, so long as they do not involve suspect

classifications based on race or some other ground, or a claim of fundamental right.” This case

involves a fundamental right, thus the standard in Jacobson is not the proper standard to apply.



                                                   6
         Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 8 of 16




II.    STRICT SCRUTINY APPLIES TO FUNDAMENTAL RIGHTS

       Defendants argue that rational basis is the appropriate level of review to apply in this

case, however, we are dealing with a fundamental right in this matter -the right to earn a

livelihood by “any lawful calling.” See Allgeyer v. Louisiana, 165 U.S. 578 (1897) (holding that

“the ‘liberty’ mentioned in th[e] [Fourteenth Amendment] ... is deemed to embrace the right of

the citizen ... to earn his livelihood by any lawful calling”); also, Connecticut ex rel. Blumenthal

v. Crotty, 346 F.3d 84, 95, (2d Cir. 2003) (noting that “the right to pursue a lawful calling has

long been recognized as a fundamental right” and citing Allgeyer); also, Madera v. Bd. of Educ.

of City of N.Y., 386 F.2d 778, 784 (2d Cir. 1967) (quoting Allegeyer’s recognition that the

Fourteenth Amendment protects one's ability “to earn his livelihood by any lawful calling; [and]

to pursue any livelihood or avocation”).

       At its core, this case is about Plaintiff’s right to pursue their lawful business without such

severe and enduring restrictions, which constrain their ability to do so at a financially survivable

capacity. The current restrictions we are requesting be enjoined, are an infringement on this

fundamental right.

       “Rights are fundamental when they are implicit in the concept of ordered liberty, or

deeply rooted in this Nation's history and tradition.” Immediato v. Rye Neck School Dist., 73 F.3d

454, 460–61 (2d Cir. 1996), cert. denied, 519 U.S. 813 (1996). Where the right infringed is

fundamental, strict scrutiny is applied to the challenged governmental regulation. Id. at 460

(citing Reno v. Flores, 113 S.Ct. 1439 (1993)).

       State action that infringes upon a fundamental right is ordinarily analyzed under the test

of strict scrutiny. See Leebaert v. Harrington, 332 F.3d 134, 140 (2d Cir. 2003) (observing that



                                                  7
             Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 9 of 16




“[w]here the right infringed is fundamental, strict scrutiny is applied to the challenged

governmental regulation”). Under that test, the challenged action “must be narrowly tailored to

promote a compelling Government interest,” and “must use the least restrictive means to achieve

its ends.” See Evergreen Ass'n, Inc. v. City of New York, 740 F.3d 233, 246 (2d Cir. 2014).

           Because we are dealing with a fundamental right, strict scrutiny is triggered. As such, the

compelling state interest in this case is to halt and/or contain the spread of a vicious pandemic,

COVID 19, so it does not overwhelm our public healthcare infrastructure. In the process of

pursuing that interest, the restrictions placed on Plaintiffs’ have been so severe and enduring that

after almost one (1) year of restrictions, Plaintiffs’ businesses have reached a breaking point

(demonstrated by the Declarations of a significant portion of the Plaintiffs). Their ability to earn

a living has been compromised, this is not merely a loss of profits. Their very survival is

threatened.

           Plaintiffs operate in New York City, which has high overhead costs. Given this, Plaintiffs

cannot survive after a year of their capacities slashed by 65% and more. Nor can they just pivot

to other revenue generating methods to make up this loss. Plaintiffs rely on the ability of the

public to gather in their spaces, even at reduced capacities, but not capacites so far reduced from

neighboring jurisdictions. There are less restrictive means of accomplishing the compelling state

interest in this case, to reduce the capacity cap to 50%. The counties surrounding New York City

are open at 50%. On March 4th, 2021, the neighboring State of Connecticut announced it will

lift all capacity restrictions on businesses such as Plaintiffs on March 19th, 2021.3 These



3
   “Connecticut dramatically rolls back COVID restrictions, allowing full indoor dining, increased entertainment and sports capacity; travel ban
lifted” Brindley, Emily, Hartford Courant March 4, 2021
<https://www.courant.com/coronavirus/hc-news-coronavirus-daily-updates-0304-20210304-56d7cbx6k5da7auqqroznhhdfa-story.html>



                                                                        8
            Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 10 of 16




restrictions create situations where a few hundred feet makes the difference between a business

being subject to different rules.4

III.      DUE PROCESS CLAIMS

          “The requirements of procedural due process apply only to the deprivation of interests

encompassed by the Fourteenth Amendment's protection of liberty and property. When protected

interests are implicated, the right to some kind of prior hearing is paramount.” See Board of

Regents of State Colleges v. Roth, 408 U.S. 564 (1972).

          With respect to the liberties enshrined in the Fourteenth Amendment, the Supreme Court

has stated: “Without doubt, it denotes not merely freedom from bodily restraint but also the right

of the individual to contract, to engage in any of the common occupations of life...and generally

to enjoy those privileges long recognized as essential to the orderly pursuit of happiness by free

men.” See Meyer v. Nebraska, 262 U.S. 390, 399 (1923).

          The Plaintiffs’ businesses surely fall under the protected interests encompassed by their

procedural due process rights. City Defendants maintain because the Defendants’ Orders are

“legislative in nature” that they are not entitled to notice and a hearing on their deprivation of

said interests. Defendants’ actions are not legislative, they are actions of the executive branch,

under limited legislative authority. The restrictions in question are the result of executive orders

enacted by Defendants with little to no prior notice. When the legislature takes action, there is a

period of debate and then a vote. This deliberative period allows for the public to comment and

in some cases lobby their elected officials for a particular outcome.




4
 “‘Unfair’ indoor dining rules send Queens patrons to Nassau: lawsuit” DeGregory, Priscilla, New York Post August 31, 2020,
<https://nypost.com/2020/08/31/indoor-dining-rules-send-queens-patrons-over-to-nassau-lawsuit/>



                                                                     9
           Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 11 of 16




          Legislative action engenders public discourse, allowing for differing sides to be fairly

heard and for their points of view to be duly considered.                                   There was no debate and no

opportunity for Plaintiffs to be heard, as there would be with a genuine legislative action. The

absence of this constitutes a violation of Plaintffs’ procedural due process rights.

          Further, City Defendants cite a string of decisions for support for their argument from the

Western District of New York and the Southern District of Ohio, among others, which are all non

binding on this Court.

          The substantive due process guarantee protects against government power arbitrarily and

oppressively exercised. Due process protection in the substantive sense limits what the

government may do in both its legislative, see, e.g., Griswold v. Connecticut, 381 U.S.

479,(1965), and its executive capacities, see, e.g., Rochin v. California,342 U.S. 165 (1952).

          The substantive component of the Due Process Clause is violated by executive action

only when it “can properly be characterized as arbitrary, or conscience shocking, in a

constitutional sense.” See Johnson v. Glick, 481 F.2d 1028, 1033 (2d Cir. 1973), cert. denied, 414

U.S. 1033 (1973).

          Here we have a series of executive Orders that have wrought a financial apocalypse

across the City of New York that some estimate may take it decade to recover from.5 Many

jurisdictions took a different approach and the results have not been nearly as catastrophic.

Plaintiffs’ contend that the disregard shown the business community and its legitimate interests

during this crisis should shock the conscience, as we are effectively rubber stamping the ability



5
 “New York City may take a decade to recover from coronavirus pandemic, says developer Don Peebles” Stankiewicz, Kevin, CNBC August 21,
2020 <https://www.cnbc.com/2020/08/21/don-peebles-new-york-city-may-take-decade-to-recover-from-coronavirus.html>




                                                                  10
        Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 12 of 16




of Defendants to cripple the economy in their jurisdiction without any recourse available to those

who stand to lose everything they have worked for. Many jurisdictions have struck a balance

between protecting lives and livelihoods that has not included the widespread economic damage

being done to New York City and more specifically to Plaintiffs.

IV.    TAKINGS CLAUSE CLAIMS

       “The paradigmatic taking requiring just compensation is a direct government

appropriation or physical invasion of private property. See, e.g., United States v. Pewee Coal Co.,

341 U.S. 114 (1951) . Beginning with Pennsylvania Coal Co. v. Mahon, 260 U.S. 393 (1922),

however, the Court recognized that government regulation of private property may be so onerous

that its effect is tantamount to a direct appropriation or ouster. Regulatory actions generally will

be deemed per se takings for Fifth Amendment purposes (1) where government requires an

owner to suffer a permanent physical invasion of her property, see Loretto v. Teleprompter

Manhattan CATV Corp., 458 U.S. 419 (1982); or (2) where regulations completely deprive an

owner of “all economically beneficial us[e]” of her property, Lucas v. South Carolina Coastal

Council, 505 U.S. 1003 (1992).

       With respect to a physical taking, the Supreme Court has held that where the government

requires an owner to suffer a permanent physical invasion of their property—however minor—it

must provide just compensation. See Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S.

419 (1982). In the instant matter a physical taking is occurring. Plaintiffs are restricted from

using 65% of their occupancy capacity. Further, they are subject to Defendants’ continuous

ability to severely restrict their use of their physical premises through executive orders.

Although this is done as an alleged temporary measure to address a crisis, we are now about a



                                                11
        Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 13 of 16




year into this crisis and no one can predict with any certainty when it will end. At what point do

temporary measures become permanent invasions? Plaintiffs adamantly contend now is that

point, the point where their businesses are facing permanent closure as a result of Defendants’

Orders in response to this crisis.

       With respect to regulatory taking, the Defendants’ Orders are denying Plaintiffs “all

economically beneficial use” of their property as per the Court in Lucas. By forcing Plaintiffs to

operate at such reduced capacities, they are not just diminishing the profits of these businesses,

they are essentially forcing them to close permanently. These businesses cannot survive and are

being forced to operate at a loss, not merely a diminution in profits.

       Defendants argue that these businesses have options afforded to them, they could do

outdoor seating and/or delivery. First, not all business locations can accommodate an outdoor

setup and not every business produces a product that lends itself to deliverability. Additionally,

delivery relies on internet based services that take a substantial portion of the proceeds from each

delivery. While yes it is technically true, they have options, this is like offering a suffocating

man a glass of water so he does not die of dehydration. Plaintiffs maintain Defendants’ Orders

have resulted in both a physical and regulatory taking.

V.     EQUAL PROTECTION CLAIMS

       The Equal Protection Claims against the City Defendants are rightly dismissed and this

portion of the City Defendant’s Cross Motion to Dismiss is conceded to by Plaintiffs.

VI.    ELEMENT OF IRREPARABLE HARM IS SATISFIED

       With respect to the second element required for a preliminary injunction, “irreparable

harm,” the supporting Declarations submitted by a significant amount of the Plaintiffs



                                                 12
         Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 14 of 16




demonstrates just how dire the situation is and that they are on the precipice of the total

destruction of everything that they have worked for and built.

         It has been held in the Second Circuit that there is a presumption of irreparable harm

where it is alleged that a constitutional right has been violated. See Jolly v. Coughlin, 76 F.3d

468 (2d Cir. 1996). It is the alleged violation of a constitutional right that triggers a finding of

irreparable harm. See Covino v. Patrissi, 967 F.2d 73, 77 (2d Cir.1992); Mitchell v. Cuomo,

748 F.2d 804, 806 (2d Cir.1984). Plaintiffs have alleged, throughout the Complaint, multiple

violations of multiple constitutional rights, which satisfies the second element of “irreparable

harm.”

VII.     BALANCE OF EQUITIES & THE PUBLIC INTEREST FAVORS PLAINTIFFS

         The balance of equities weighs in Plaintiffs’ favor. Plaintiffs face the prospect that

without the relief requested herein being granted, they may cease to exist. Further, no one is

required to patronize the Plaintiffs or any other similar businesses in New York City. If an

individual has concerns about their health and wellbeing they are free to refrain from

patronizing Plaintiffs and undoubtedly many will, but there are many who would choose to

avail themselves of Plaintiffs services at a safe fifty percent (50%) capacity cap and by doing

so they would help save these businesses who are currently on their last legs.

         Additionally, as noted throughout this case, many jurisdictions in close proximity to

New York City (under an hour) are already allowed to open at increased capacities. As noted

above, Connecticut is reopening on March 19, 2021 at 100% capacity and counties abutting

New York City are already open at 50% capacity. Those who live in New York City are

allowed to travel outside of the city to frequent establishments in jurisdictions with higher




                                                  13
            Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 15 of 16




capacity restrictions, can do so with ease and travel back to New York City. Point being, the

public health effects of these restrictions are negated by the fact that the surrounding areas are

not abiding by the same strict conditions New York City is. This consumer behavior is not

accounted for in either Defendants’ medical experts’ Declarations.                                              In fact, this was

recognized at the beginning of the COVID 19 crisis by State Defendants and the State

governments of New Jersey and Connecticut.6

           On March 17th, 2020 the State Governments of New York, New Jersey and

Connecticut, announced a coordinated effort to prevent “state shopping” and to avoid “...a

patchwork of closures and restrictions...” according to Governors Cuomo and LaMont,

respectively. What we have now is a patchwork of inconsistent rules and regulations, which

negates the efficacy of the most severe restrictions, which Plaintiffs are under by virtue of

being located in New York City. This does not serve the public interest of curbing COVID-19

effectively, but does put the Plaintiffs’ at risk of severe and permanent loss of their businesses.




6
 “Coronavirus: NY, NJ, CT coordinate restrictions on restaurants, limit events to fewer than 50 people” Lovelace Jr., Berkeley, CNBC March 17,
2020
<https://www.cnbc.com/2020/03/16/new-york-new-jersey-and-connecticut-agree-to-close-restaurants-limit-events-to-less-than-50-people.html>




                                                                     14
        Case 1:21-cv-00165-DLC Document 42 Filed 03/09/21 Page 16 of 16




VIII. CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that City Defendants Motion for

to Dismiss be denied.

Dated: March 9th, 2021
       New York, New York

                                     Respectfully submitted,



                                     _________/S_____________________
                                         Kenneth E. Belkin, Esq. (KB 0080)
                                        Attorney for Plaintiffs
                                        225 Broadway, Suite 715
                                        New York, New York 10007
                                       c: 718.724.3466
                                       f: 212.566.8165
                                       e: kb@belkinlaw.com




                                               15
